Case 6:14-cv-00336-RWS-JDL Document 49 Filed 05/10/19 Page 1 of 5 PageID #: 304

                                Rosfel Garza
                              TDC3-ID D11B1215
                             H.H. Coffield Unit
                              2661 F.M. 05
                    / Tennessea Calany, IX. 75B8



                                                  May 6th, 2019

 TO: Honorable Oudge Ron Clark
      U.S. District Oudge
      U.S. District Court of the
      Eastern District of Texas
      211 U. Ferguson St., R . 106
      Tyler, TX. 75702


 RE: Reinstatement of Case: 6:1 -cv-00336-RC-0DL



 Honorable Oudge,

        y name is Rosfel Garza, TDCO-ID 01181215 and I am currently
 confined at the H.H. Coffield Unit in Tenessee Colony, Texas. I am
 corresponding with you at this time, first, to thank you for your
 service with the afore mentioned case. Secondly, and even more
 importantly, I need to report a breach of contract that has been
 continually been causing me grief and suffering.

       In the case, (Garza v. Lorie Davis, Et al), a settlement
 was reached with the defendant(s) in November of 2017. Ho ever,
 The unit Head Chaplain, A. Barker, has repeatedly tried to
 subvert the settlement agreement by attempting to alter is, even
 though TDCO Chaplaincy Director Michael Rutledge confirmed the
 terms of the settlement

       The Head Chaplain, A. Barker has even gone so far as making
 alligations against me and wrote an erroneous case against me
 as a form of retaliation for my refusal to agree to alter the
 agreement to better suit what he wants, even though his boss,
 Michael Rutledge agreed to the terms as they are. Chaplain
 Barker refused to adhere to the settlement, in which I had to
 ]utilize TDCC's grievance procedures in 2C18, in which the
 grievance department, in order to uphold the integrity of
 TDCC officers and staff, refused to investigate my complaint.

 The unit Warden, Michael Britt confirmed and approved the
 religious headware that was part of the settlement in order for
 me to exercise my 1st Amendment right to worship. A step 1 and
 step 2 appeal was filed against the Chaplain on two different
 occassions (2018136549 and 2019083231) with only getting a
 notice of extension in order for the grievance investigator to
 look into the matter in an attempt to subvert any time frame that
 may be necessary for me to file action again.




                                    1 OF 2
Case 6:14-cv-00336-RWS-JDL Document 49 Filed 05/10/19 Page 2 of 5 PageID #: 305


       On May 3rd, 2019, Chaplain Barker called me to his office in
 another attempt to coerce me to confor to mhat he demanded rather
 that folloued the outlined settlement with his duperiors. When
 I refused again, he told his chapel        arkers to leave his office,
 he locked the door and tried to coerce me into having a physical
 altercation with him, in which I still refused.

       He falsified an officail document to say that I had an
 altercation with him, and the way the disciplinary court works here,
 they are bias and any effort I bring to bring out the true is don
 so to my detri ent.

      My only recourse is to now plead with your Honor to
 please reinstate the afore-mentioned cause due to a member of
 the defendants trying to alter the contract/settlement after it
 had already been signed as is an approved by Chaplain Barker's
 superiors. Those over him refuse to address the issue and have
 repeatedly denied contacting me back.

      Please Honorable Budge Clark, I implore you to please
 reinstate the cause due to the Defendant's breach of the
 contract/settlement.

       Thank you in advance for your attention to this matter.
 I hope and pray that you are able to assist me in resolving this
 matter before those of the defendants begin retaliating in more
 violent forms that they have done to me in the past.

 Respectfully Submitted on this 6th day of ay, 2019,



 Rosfel Garza
 TDCB-ID 011 81 21 5
 H.H. Coffield Unit
 2661 F.M. 205
 Tennessee Colony, TX. 7588




                                   2 OF 2
              Case 6:14-cv-00336-RWS-JDL Document 49 Filed 05/10/19 Page 3 of 5 PageID #: 306
                     Te as Dep rtment of Criminal Justice               OFFICE USE ONLY

                                                                                            Grievance #:


                        STEP 1                    GRIEVANCE FORM
                                                                                            Date Received:

                                                                                            Date Due:
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                             pi/ / r fZei/         TDCJ # .                                 Investigator ID #:.

Unit: Ci\M'l IrL O, 006 Housing Assi nment: G O?                                            Extension Date:

Unit where incident occurred?                                                               Date Retd to Offender:

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                        Clys'//Ms                                                         ¦        }          t               -

State your grievance in the space provided. Please state ho, what, hen, here and the disciplinary case number if appropriate
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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED                                                                       (OVER)
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           Case 6:14-cv-00336-RWS-JDL Document 49 Filed 05/10/19 Page 4 of 5 PageID #: 307

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Signature Authority: in                                                                                                                     Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

Returned because:           *Resubmit this fo m when the co ections are ade.

I I 1. Grievable time period has expired.
    2. Submission in excess of 1 every 7 days. *
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j I 3. Originals not submitted. *
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    4. Inappropriate/Excessive attachments. *
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J2 5. No documented atte pt at informal resolution. *
                                                                                                               Date Reed from Offender: M A 1 Q fl
    6. No requested relief is stated. *
                                                                                                               Date Returned to Offender       MAY 0 (1 z ra
    7. Malicio s use of vulgar, indecent, or physically threatening language. *
                                                                                                                   Submission UGI Initials:
I I 8. The issue presented is not grievable.                                                                   Grievance #:
I I 9. Redundant, Refer to g ievance #                                                                         Screening Criteria Used:

    10. Illegible/Incomprehensible. *                                                                          Date Reed from Offender: .




S SC . g G                                                        fa,                    s                     Date Returned to Offender:

                                                                                                               So Submission UGI Initials:.
                                                                                                               Grievance                            #:
Application of the screening criteria for this grievance is not expected to adversely                           Screening Criteria Used:
Affect the offender s health.
                                                                                                                Date Reed from Offender: .

Medical Si nature Authority:                                                                                    Date Returned to Offender:.

1-127 Back (Revised 11-2010)
                                                                                                                                                              Appendix F
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           Case 6:14-cv-00336-RWS-JDL Document    O Filed 05/10/19 Page 5 of 5 PageID #: 308
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